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                                                                         CLERK li $" ,
 3                              UNITED STATES DISTRICT COUR
                                                                       OUTHE   ' .. ",';:,TRICT COuRT
                                                                       y         :; RICT OF CALiFORNIA
                                                                                                  DEPUTY
 4                         SOUTHERN DISTRICT OF CALIFORNIA
 5                                                   Case No.: 15-CR-0736-BEN
     UNITED STATES OF AMERICA,
 6
                           . Plaintiff,
 7                                                   ORDER AND JUDGMBNT TO
          v.                                         DISMISS WITHOUT PREJUDICE
 8
     TIFFANY KIP SKOGLUND HERNANDEZ,
 9
                            Defendant.
10
11 ~----------------------------------~

12        Upon    motion   of    the   United   States      of    America      and      good      cause

13   appearing,

14        IT IS HEREBY ORDERED that the Information in the above-entitled
15   case be dismissed without prejudice.
16        IT IS SO ORDERED.
17   DATED:    Apri~/, 2015.
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20                                                             ROGER T. BENITEZ
                                                            States District Judge
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